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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 21-2269V
                                          UNPUBLISHED


    SUZANNE TANNER, on behalf of her
    minor child, L.T.,                                          Chief Special Master Corcoran

                          Petitioner,                           Filed: August 15, 2022
    v.
                                                                Withdrawal of petition; Order
    SECRETARY OF HEALTH AND                                     concluding proceedings
    HUMAN SERVICES,

                         Respondent.



                             ORDER CONCLUDING PROCEEDINGS1

        On December 8, 2021, Suzanne Tanner filed a petition for compensation on
behalf of her minor child, L.T., under the National Vaccine Injury Compensation
Program, 42 U.S.C. § 300aa—10 through 34.2 Petitioner alleged that L.T. suffered
injuries after receiving a human papillomavirus vaccination on November 21, 2018. ECF
No. 1.

       Because a decision had not been issued within the time specified in Vaccine
Rule 10(b), a notice issued advising that “that the petitioner may withdraw the petition
under section 300aa—21(b) of this title or the petitioner may choose under section
300aa—21(b) of this title to have the petition remain before the special master.” 42
U.S.C. § 300aa—12(g). On August 11, 2022, Petitioner timely filed a notice to withdraw
the petition pursuant to 42 U.S.C. § 300aa—21(b).

        In light of Petitioner’s election to withdraw the petition pursuant to 42 U.S.C. §
300aa—21(b) (promulgated as Vaccine Rule 10(d)), Petitioner’s request to withdraw the
petition is GRANTED. Accordingly, this Order hereby notifies the Clerk of Court that
proceedings “on the merits” of this petition are now concluded, but no judgment
“on the merits” should be entered by the Clerk’s Office.


1 Although I have not formally designated this Order for publication, I am required to post it on the United
States Court of Federal Claims' website because it contains a reasoned explanation for the action in this
case, in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Order will be available
to anyone with access to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, I agree that the identified material fits within this definition,
I will redact such material from public access.

2   National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
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IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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